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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
ORDER

Plaintiff,
Case No. 2U-Md -Y46IS

Vv.

SHAWNLEE M*CLAny,

Defendant.

The motion for an adjournment is granted. (Docket # ). The status conference
Deframit nesters Lis ng hF

shall be adjourned until S| I3]2y wat 4° 30am fh adetenhm hear ag ua
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At defendant’s request, time shall be excluded in the interests of justice under 18

U.S.C. § 3161(h)(7) between today and the date for the status conference because I find that the
defendant’s, the government’s, and the public’s interests in a speedy trial are outweighed by the

reviewing discver WA weme (OEP ean
defendant’s interest in having sufficient time to continue(plea negotiations with the government ar 2

and to obtain the continued assistance of counsel.

IT IS SO ORDERED.

Moai tafe
MARIAN W. PAYSON
United States Magistrate Judge

Dated: Rochester, New York
Une 28 2024

